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8                            UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               June 2023 Grand Jury

11   UNITED STATES OF AMERICA,                CR No. 2:23-cr-00468-TJH

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [18 U.S.C. § 371: Conspiracy to
                                              Operate an Unlicensed Money
14   SAMVEL GRIGORYAN,                        Transmitting Business; 18 U.S.C.
       aka “Sim,” and                         §§ 1960(a), (b)(1)(A),(B):
15   HAYK MARTIROSYAN,                        Operating an Unlicensed Money
                                              Transmitting Business; 18 U.S.C.
16             Defendants.                    § 2(a): Aiding and Abetting; 18
                                              U.S.C. §§ 981(a)(1)(C), 982, and
17                                            28 U.S.C. § 2461(c): Criminal
                                              Forfeiture]
18

19        The Grand Jury charges:
20                                      COUNT ONE
21                                 [18 U.S.C. § 371]
22                                  [ALL DEFENDANTS]
23   A.   OBJECT OF THE CONSPIRACY
24        Beginning on a date unknown, but no later than December 2021,
25   and continuing until on or about September 11, 2023, in Los Angeles
26   County, within the Central District of California, and elsewhere,
27   defendants SAMVEL GRIGORYAN, also known as “Sim,” and HAYK
28   MARTIROSYAN, and others known and unknown to the Grand Jury,
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1    conspired and agreed with each other to knowingly and intentionally

2    operate an unlicensed money transmitting business affecting

3    interstate and foreign commerce, in violation of Title 18, United

4    States Code, Sections 1960(a), (b)(1)(A), (B).

5    B.   MANNER AND MEANS OF THE CONSPIRACY

6         The object of the conspiracy was to be accomplished, in

7    substance, as follows:

8         1.    Defendant GRIGORYAN would operate a money exchange business

9    that advertised, in part, on the website “coinexchange.am,” wherein
10   he would offer to buy or sell cryptocurrency and would provide, in
11   exchange, cash less a commission fee.
12        2.    Defendants GRIGORYAN and MARTIROSYAN and others would meet
13   with customers in Los Angeles County and elsewhere to take possession
14   of cash from customers or to provide cash to customers.
15        3.    Defendant MARTIROSYAN would count cash.
16        4.    Defendant MARTIROSYAN would transport cash.
17        5.    Defendant GRIGORYAN would control and operate
18   cryptocurrency wallets through which he would send cryptocurrency to

19   or accept cryptocurrency from customers.

20   C.   OVERT ACTS

21        On or about the following dates, in furtherance of the

22   conspiracy and to accomplish its object, defendants GRIGORYAN and

23   MARTIROSYAN, and others known and unknown to the Grand Jury,

24   committed the following overt acts, among others, within the Central

25   District of California and elsewhere:

26        Overt Act No. 1:        On August 24, 2023, in Glendale, California,

27   defendant GRIGORYAN and an unidentified man (“UM-1”) conducted a

28   $40,000 money exchange (cash for cryptocurrency) for a 5% commission

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1    fee with an individual who, unbeknownst to defendant GRIGORYAN, was a

2    confidential source working for law enforcement (“CS”).

3          Overt Act No. 2:       On August 24, 2023, while conducting the

4    money exchange with CS, UM-1 left the meeting location, picked up

5    defendant MARTIROSYAN, and both went back to the meeting location.

6          Overt Act No. 3:       On August 24, 2023, while conducting the

7    money exchange with CS, defendant GRIGORYAN introduced CS to

8    defendant MARTIROSYAN, and defendant MARTIROSYAN conversed with CS

9    for the purpose of building a relationship with CS for future money
10   exchange transactions.
11         Overt Act No. 4:       On August 28, 2023, in Glendale, California,
12   defendants GRIGORYAN and MARTIROSYAN conducted a $60,000 money

13   exchange (cash for cryptocurrency) for a 5% commission fee with CS.

14         Overt Act No. 5:       On September 6, 2023, in Glendale,

15   California, defendants GRIGORYAN and MARTIROSYAN conducted a $40,000

16   money exchange (cash for cryptocurrency) for a 5% commission fee with

17   CS.

18         Overt Act No. 6:       On September 6, 2023, while conducting the

19   money exchange with CS, defendant MARTIROSYAN took possession of

20   $40,000 that CS provided, left the meeting location, drove to a

21   residence in Glendale, California, went inside for approximately six

22   minutes, and then left and drove to a financial institution.

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1                                       COUNT TWO

2           [18 U.S.C. §§ 1960(a), (b)(1)(A), (B); 18 U.S.C. § 2(a)]

3                                   [ALL DEFENDANTS]

4         Beginning on a date unknown, but no later than December 2021,

5    and continuing until on or about September 11, 2023, in Los Angeles

6    County, within the Central District of California, and elsewhere,

7    defendants SAMVEL GRIGORYAN, aka “Sim,” and HAYK MARTIROSYAN, and

8    others known and unknown to the Grand Jury, each aiding and abetting

9    the other, knowingly conducted, controlled, managed, supervised,
10   directed, and owned an unlicensed money transmitting business
11   affecting interstate and foreign commerce, namely, a virtual currency
12   exchange business, that: (1) operated without an appropriate money
13   transmitting license in California, where such operation is
14   punishable as a felony under state law; and (2) failed
15   to comply with the money transmitting business registration
16   requirements under Section 5330 of Title 31, United States Code, and
17   the regulations thereunder.
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1                             FORFEITURE ALLEGATION ONE

2               [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Section 981(a)(1)(C) and Title 28, United States

7    Code, Section 2461(c), in the event of any defendant’s conviction of

8    the offense set forth in Count One of this Indictment.

9         2.    Any defendant so convicted shall forfeit to the United
10   States of America the following:
11              (a)   all right, title, and interest in any and all
12   property, real or personal, constituting, or derived from, any
13   proceeds traceable to the offense; and
14              (b)   To the extent such property is not available for
15   forfeiture, a sum of money equal to the total value of the property
16   described in subparagraph (a).
17        3.    Pursuant to Title 21, United States Code, Section 853(p),
18   as incorporated by Title 28, United States Code, Section 2461(c), any

19   defendant so convicted shall forfeit substitute property, up to the

20   value of the property described in the preceding paragraph if, as the

21   result of any act or omission of said defendant, the property

22   described in the preceding paragraph or any portion thereof

23   (a) cannot be located upon the exercise of due diligence; (b) has

24   been transferred, sold to, or deposited with a third party; (c) has

25   been placed beyond the jurisdiction of the court; (d) has been

26   substantially diminished in value; or (e) has been commingled with

27   other property that cannot be divided without difficulty.

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1                             FORFEITURE ALLEGATION TWO

2                                  [18 U.S.C. § 982]

3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States will seek

5    forfeiture as part of any sentence, pursuant to Title 18, United

6    States Code, Section 982(a)(1), in the event of any defendant’s

7    conviction of the offense set forth in Count Two of this Indictment.

8         2.    Any defendant so convicted shall forfeit to the United

9    States of America the following:
10              (a)   Any property, real or personal, involved in such
11   offense, and any property traceable to such property; and
12              (b)   To the extent such property is not available for
13   forfeiture, a sum of money equal to the total value of the property
14   described in subparagraph (a).
15        3.   Pursuant to Title 21, United States Code, Section 853(p), as
16   incorporated by Title 18, United States Code, Section 982(b)(1), and
17   Title 18, United States Code, Section 982(b)(2), any defendant so
18   convicted shall forfeit substitute property, if, by any act or

19   omission of the defendant, the property described in the preceding

20   paragraph, or any portion thereof: (a) cannot be located upon the

21   exercise of due diligence; (b) has been transferred, sold to, or

22   deposited with a third party; (c) has been placed beyond the

23   jurisdiction of the court; (d) has been substantially diminished in

24   value; or (e) has been commingled with other property that cannot be

25   divided without difficulty. Substitution of assets shall not be

26   ordered, however, where the convicted defendant acted merely as an

27   intermediary who handled but did not retain the property in the

28   course of the money laundering offense unless the defendant, in

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1    committing the offense or offenses giving rise to the forfeiture,

2    conducted three or more separate transactions involving a total of

3    $100,000.00 or more in any twelve-month period.

4                                                A TRUE BILL
5
                                                          /s/
6
                                                 Foreperson
7

8    E. MARTIN ESTRADA
     United States Attorney
9
10

11   MACK E. JENKINS
     Assistant United States Attorney
12   Chief, Criminal Division
13   J. MARK CHILDS
     Assistant United States Attorney
14   Chief, International Narcotics,
     Money Laundering, & Racketeering
15   Section
16   BRITTNEY M. HARRIS
     Assistant United States Attorney
17   Deputy Chief, International
     Narcotics, Money Laundering, &
18   Racketeering Section
19

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